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                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
  ~`                                    COUNTY OF SACRAMENTO


    DATE:                                                 DEPARTMENT:            8
    JUDGE:                  Lawrence G. Brown             CLERK:
    REPORTER:                                             BAILIFF:


    People ofthe State of California                             CASE NO. 16FE024013

    vs

    Carl Ferrer, Michael Lacey, and
    James Larkin,

    Defendants


    Nature of Proceedings: Ruling on Defendants' Motion to Dismiss under Penal Code Section 1004                       ..

                                                     Introduction
             Backpage.com is one ofthe largest on-line classified advertisement services, through whzch users may
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~ ~u'st advertisements in a variety of categories. Posting an advertisement in the "Adult Services" category
   requires a fee. Through various levels ofinvolvement with Backpage.com, Defendants have twice found
   themselves facing criminal charges in Sacramento County relating to certain advertisements placed in the
   "Adult Services" category.
           The prosecution's theory is that Defendants conspired to create and organize a website that facilitates
   sex trafficking. The People assert that Defendants created such a site through Backpage.com, knowing that
   prostitutes and/or pimps use the site to advertise prostitution, and with the intent to m~imize their own profits
   from the illegal sex trade. According to the People, this plan also included (ricking credit payment processors
   into processing Backpage transactions, through the use'of shell companies and fraudulent billing descriptors.
   A]Iegedly, the credit processors would not have processed the payments had they known they were doing
   business with Backpage.com. The People assert that Defendants' plan has come to fruition and they have
   derived massive financial support and maintenance fxom the prostitution.

                                                     Background
          In 2Q16, Defendants faced various charges of pimping and conspiracy to pimp. The Honorable Michael
   G. Bowman   SUSTAINED     the Defendants' demurrer and dismissed the complaint. Judge Bowman found that it
   was apparent from the accusatory pleadings fihat the prosecution hinged on fireating Defendants as the speakers



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,r""~'.the offensive conduct, when they were merely the publisher. Prosecution under this theory could not go
   _~rward, as the Communications Decency Act("CDA")provides immunity for online publishers and
   distributors of content generated by third parties. (See 47 U.S.C. §230; Barrett v. Rosenthal(2Q06)40 Ca1.4~'
   33, 39.)
            That same month,the Office ofthe Attorney General filed a new complaint, charging the same
   Defendants with conspiracy to commit money Laundering (count 1), money laundering (counts 2-27), and
   conspiracy to commit pimping (count 28). The People also allege three sentencing enhancements based on the
   amount of money involved in the financial transactions. Defendant Ferrer also faces charges of pimping a
   minor under 16 years old (counts 29-31, 40), pimping a minor (count 32), pimpzng (counts 33-36, 39), and
   pimping a minor 16 years old (37-38).
            On January 19, 2017, Defendants fled a Motion to Enforce the Court's Order of Dismissal; Alternative
  Demuzxer; and Request to Transfer to Judge Bowman and Further Relief On January 23, 2017,the People filed
  an Opposition. On March 6, 2017, Defendant filed a brief in fiarther support for fine above named Demurrer
  under Penal Code sec#ion 1004, and the People responded in further Opposition on March 8, 2017. The People
  also filed a Motion to Strike the declaration of defense counsel and Defendants' E~iibits A-J, attached to the
  Motion of January 19, 2Q17. On March 10, 2017, the parties addxessed in open court Defendants' concerns of
  whether the complaint was sufficiently pled such that Defendants have been adequately apprised ofthe charges.
  Ofparticular concern was the money laundering charges, which charged Defendants with money laundering
  under the transactional prong but did not specify the underlying criminal activity. (See Penal Code
     86.10(a)(2).) The Court invited the People to consider amending the complaint.
     1     The People submitted the First,Amended Criminal Complaint to ~e Court on March 24,2Q17. This was
  deemed filed on Apri128, 2017. The First Amended Complaint added several allegations and overt acts that
  explained the theory ofprosecution. In particular, the People provided clarification that fine money laundering
  charges are based on bank fraud, wire fraud and prostitution. On May 26,2017, Defendants addressed the
 amended charges in their Continued Demurrer to Dismiss the State's Complaint. The People filed an
  Opposition on June 9~', and Defendants filed a Reply on June 23, 2017.

                                       Court's Leal Anaivsis and Ruling
        The partizs have brizfed multiplz issues that may be grouped into three categories. Defendants argue
that the prosecution constitutes harassment and should be curtailed. Defendants also make several challenges to
the pleadings and argue that procedural and facial defects prohibit the instant prosecution from going forward.
Finally, Defendants argue that the First Amendment bars the instant prosecution because it is based on
impermissible interference with publisher functions.

I.      Nature of the Prosecution
        A.    Basis far the prosecution




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            Since at least 2010, public officials and state prosecutors have been pressuring Backpage to remove the
  "Adult Services" category from the website in an endeavor to combat sex trafficking. With Backpage's refusal
~ comply,a philosophical disagreement between public o~ciais and Backpage as to how best to combat sex
~
   tricking is clearly present. (See Backpage.com, LLC v. Lynch,216 F.Supp.3d 96, 100, fn. 2.) Defendants
   note the instant prosecution is one of a recent rash of attempts to assign liability for affiliation with Backpage.
   Defendants claim that in each case, including the previous prosecution dismissed by Judge Bowman,Backpage
   successfully argued that it was entitled to immunity under the CDA. Defendants argue that in light ofthis cleax
  immunity,the instant charges are brought in bad faith and the prosecution is vindictive. Defendants argue that
  this is not the first time a government official has used coercive techniques to attempt to shut them down. (See
   e.g., Bacl~age.com, LLC v. Dart(7~' Cir. 2015)807 F.3d 229 [in his professional capacity, Cook County Sheriff
  threatened Backpage.com business partners in an attempt to dry out Backpage business].)
           Yet, perhaps another possible perspective is that there is a growing desire to hold online media
  accountable far their role in disseminating infornnatian leading to condemnable acts by third parties. (See e.g.,
  Cohen v. Facebook, Inc. E.D.N.Y. May 18, 2017)201'7 U.S. Dist. LEXIS 76741, *28-31 [seeking to hold
  Facebook liable for allowing Haman to use its platform to encourage terrorist attacks]; and Fields v. Twitter, Inc
(N.D. Ca1.20I6)217 F.Supp.3d 1116 [seeking to hold Twitter liable for providing ISIS an account to use for
  spreading extremist propaganda].)
           This Caurt need not decide whether this prosecution is brought in bad faith, nor is there a sufficient
  factual basis to do so, at this juncture. As discussed below, whether this case proceeds depends;in part, on
  whether Defendants enjoy immunity against these new charges under the CDA. Thisrmmunity was provided by
  Congress, and regardless of where Backpage floats on the tide of public opinion, the immunity must be
, ~~.edified by Congress.

         B.      The People's Investigation May Continue
         Defendants also request this Court to enjoin further investigation by the People and to rettun the
 materials already seized as part ofthe investigation. This argument is largely based on Defendants claim that
 this prosecution is brought in bad faith. At this stage, there is insufficientjustification for interference with fine
 prosecutor's functions. (Compare Dart, supra, 807 F.3d at 233 [Court fording letter sent by Sheriff"containing
 legal threats and demands" to sever contractual ties with Backpage was clear evidence of bad acts by
 government official].) Thus, Defendants' request to enjoin the People from further investigation and to return.
 the materials seized is denied.

 II.     Procedural and Facial Challenges to the Charges
         A.      Authority to File New Charles.
         The parties dispute whether the instant prosecution may be initiated against Defendants. Defendants
 argue the People are prohibited from re-filing charges after the original demurrer was SUSTAINED and
 maintain that the First Amended Complaint constitutes an improper attempt to reinstate that original complaint.
 Defendants argue that the People forfeited this opportunity by failing to fallow the proper procedure to cure the
 defects in the previous complaint, as outlined in Penal Cade sections 1007-1009. Defendants also argue that re-
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r"`"'ing ofcharges is barred because the previous complaint was dismissed on constitutional grounds. (See People
  .-: Pinedo(20Q5) 128 Ca1.App.4~'968, 972 [state and federal due process clauses Iimit the People's discretion to
  re-file charges].)
           The People's position is that the gxanting of a demurrer does not bar the prosecution from filing a new
  complaint, even where the charges are the same. "Even a dismissal in the superior court following an order
  setting aside an information or indictment is no bar to a future prosecution for the same offense."(People v.
  ZThlemann (1973)9 Ca1.3d 662, 666, citing People v. Van Eyk(1961} 56 Ca1.2d 471,477; Pen. Code,§ 999; see
  also Pen. Code § 1387.) Nevertheless,the People represent that the instant charges are "substantially different"
  than those contained in the prior complaint and because the prior complaint was not dismissed with prejudice,
 the new charges are appropriate.
          The Court finds the People may file the instant charges. Judge Bowman dismissed the first compliant
  after finding the Defendants were entitled to immunity from prosecution under the Communications Decency
  Act. While the CDA was established to protect the constitutional right to free speech, the immunity provision
 pxoviding online publishers immunity from liability for third-party speech is statutory. Thus,the dismissal was
 based on statutory legal grounds. Generally, when charges are dismissed based on legal grounds,the
 prosecution may file a new complaint or seek a grand jury indictment. (Uhlemann, supra, 9 Ca.l. 3d at 666.)
 Moreover, Judge Bowman's ruling signaled that a prosecution based on treating publishers as the speaker was
 prohibited under the CDA. This ruling would not prevent a prosecution under theories not subject to the
 immunity provision. The People assert that the instant charges do not fall under the purview ofthe CDA.

`~'~     B.       Jurisdiction
         Defendants question whether California has jurisdiction over this prosecution. Defendants argue that the
 allegation that they conducted transactions "throughout California," is insufficient because the People have not
 identified a single act actually committed in California. Defendants argue that territorial jurisdiction maybe
 raised in a demurrer and is subjected to pre-trial deternzination. (See Penal Code §1004(1).)
         A state is not prohibited from exercising jurisdiction over criminal acts that take place outside of its
 borders, if the results of the crime are intended to (and do) cause harm within fine state. (People v Fortner
(2013)217 Ca1.App.4th 1360, 1363.} California claims jurisdiction for offenses that fall under specific types of
 interstate situations. (Ibid, citing People v. Betts(2005)34 Ca1.4~' 1039, 1047.) For example, under Penal Code
 section 27, a defendant may be punished under California law for any crime committed "in whole or in part" of
 the state. Similarly, under Penal Code section 7$8, California has jurisdiction for offenses commenced out of
 state then conslu~zmated in California. Finally, under Penal Code section ~78a, California has territorial
jurisdiction if the defendant does a preparatory act in California that is more than a de minimis act toward the
 completion ofthe offense. (Fortner, supra, 217 Cal..App.4~' at 1363-1365.) In other words, California has
territorial jurisdiction when "with intent to commit a crime" a person "does any act within this state in execution
or part execution ofthat intent, which culminates in the commission of a crime, either within or without this
state." (People v. Renteria(2008) 165 Ca1.App.4th 1108, 1116.}


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           Here,the People contend that Defendants concocted a scheme to trick credit payment processors into
  ~~ocessing payments for Backpage transactions when the processors would have otherwise declined. The
.f ~~ple contend that this misrepresentation influenced banks to release money to Defendants. For jurisdictional
   purposes, the People contend that the acts of hosting a website and accepting credit payments for advertisement
  placement were non-de minimis parts of the overall scheme to defraud the banks. In this way, Defendants
  arguably committed more prepaaratory acts in California than what was deemed sufficient in People v. Betts
 (2005)34 Cal.4th 1039, 1047, where there was sufficient evidence that the defendant's intent to molest his step-
  granddaughters formed in California when he suggested they go with him on a long haul truck drive. (Id at
  1054-1056.)
          This Court finds that Califoznia has jurisdiction over the instant charges. Assuming, without deciding,
  that Defendants intended to conduct, and participated in, the scheme alleged by the People, hosting the website
  through which payments were processed under fraudulent conditions was more than a de minimis act toward the
  bank fraud. The scheme would not have been as successful had if not been able to process payments for
  Backpage advertisements placed in California. For purposes of establishing jurisdiction, these allegations are
  sufficient.

          C.      Case Assi,~nment
          Defendants request that this Court transfer the case back to Judge Bowman for the sake of"efficiency
  and to prevent fonun-shopping." Defendants rely upon Penal Code section 1387, which~provides exceptions to
 that general rule that the prosecution has an opportunity to re-file charges after one dismissal. (Pen. Code §
 ?.387(a).) While section 1387 also serves to curtail prosecutorial harassment by placing limits on the number of
    ies charges maybe re-filed, these limitations do not dictate judicial assignment. This Court can find no
 justification for assignment through a method other than through the normal procedure governed by local rules
  1032 and 10.50. Defendants' request to have the case assigned to Judge Bowman is denied.

         D.       Judicial Notice
         Defendants have also requested this Court to take judicial notice of several documents attached as
 E~zbits A-J to their Motion filed on January 19, 201~. The People request this Court to strike these exhibits
 and the accompanying declaration from defense counsel.
         Tbis Court has been expressly called upon to review the propriety ofthe re-filed charges in light ofthe
 previous dismissal. Therefore, this Court takes judzcial notice ofthe procedural history ofthe prior prosecution
 including the prior complaint and the Order granting Defendants' Demurrer. (See People v. Putney(201 b) 1
 Ca1.App.Sth 1058, 1063, fii. 4 [taking judicial notice ofthe prior case's procedural histozy but not the truth of
 any facts involving the underlying charge];People v. Hill(1998) 17 Ca1.4th 80Q, 847 [taking judicial notice of
 unpublished decision in separate case].)
         While the previously filed complaint and dismissal order is helpful to tl~e resolution ofthe matters before
 this Court at this juncture, Defendants' other documents do not have the same utility. (See Sosinsky v. Grant
(1992} 6 Ca1.App.4th 1548, 1564 [a court may take judicial notice ofthe truth offacts asserted in documents
 such as orders, findings offact and conclusions oflaw, and judgments].) The Defendants' request to take




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~~icial notice for all exhibits attached to the January 19th motion, other than the previous complaint and
 _ _~smissal order, is denied. The People's motion to strike these documents is SUSTAINED.

            E.      Challenges under Penal Code section 1Q04.
            A defendant may demur on delineated statutory grounds. (Pen. Code, § 1004; People v. Saffell(1946)
 74 Ca1.App.2d supp. 967, 972.) These include the ability to challenge: whether the facts stated constitute a
  public offense; defects on the face ofthe accusatory pleading; or on the grounds that the pleading includes
 information that would be a bar to prosecution. (Pen. Code, § 1004. See also People v. Goodman (2014} 225
 Cal.App.4th 950, 956.) Literal compliance with pleading requirements under Penal Code section 952 is
 insufficient if the accusation fails to give constitutionally adequate notice of what the accused must defend
 against. (People v. Jordan(1971) 19 Cal.App.3d 362, 369.) California's system of criminal pleading under
 section 952 relies in part upon the transcript ofthe grand jury hearing or preliminary examination which must be
 funushed to the defendant to inform him of particular circumstances of his offense not shown by the accusatory
 pleading.(People v. flnderson (1961)55 Cal.Zd 655,657;People v. Johnson (1964)230 Cal.App.2d 80, 86;
People v..Io~dan (1971) 19 Cal. App. 3d 362, 369-371.)
           However, compliance with section 952 does not necessarily overcome a due process attack and maybe
 challenged in a demurrer prior to preliminary hearing.(Lamadrid v. Municipal Court(1981) 118 Cal.App3d
 78b, 790; Choung v. People ofState ofCalifornia(1970)320 F.Supp. 625, 629.)(See also Lott v.,~~Jnited States
(1962)309 F.2d 115, 117 [offenses must be accurately described in an indici~nent; anal if necessary to do so,the
   'egations must be expanded beyond the words ofthe statute in order to embrace all the ingredients necessary
~   ~~the offense]; United States v. Ct-uikshank(1875)92 U.S. 542, 558 [the object ofthe indictment is to fiunish
the accused with such a description ofthe charge against him as will enable him to make his defense and to
inform him ofthe facts alleged; a crime is made up of acts and intent and these must be set forth in the
indictment].) The complaint must be given a reasonable interpretation and read as a whole with its parts
considered in their context. (People v. Biane(2013)58 Cal.4~` 381, 388.)

                     1. Money laundering p~ernised onfederal offenses.
        Defendants argue ~thhat the charges do not constitute a public offense because the People have no
 authority to base their state prosecution for money laundering upon violations offederal bank oz wire fraud
laws. The People respond that California law allows the state to incorporate federal offenses by reference, and
the California money laundering statute specifically contau~.s such a reference. This Court agrees with the
People.
        Penal Code section 156.10, subdivision (a), provides in pertinent part:"Any person who conducts or
atternp#s to conduct a transaction or more than one transaction within aseven-day period involving a monetary
instrument or instruments of a total value exceeding five thousand dollars($ 5,000), or a total va3ue exceeding
twenty-five thousand dollars($ 25,000) within a 30-day period, through one or more fnancial institutions (1)
with the specific intent to promote, manage, establish, carry on, or facilitate the promotion, management,
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 establishment, or carrying on of any crinninal activity, or(2)knowing that the monetary instrument represents
 the proceeds af, or is derived directly or indirectly from the proceeds of, criminal activity, is guilty ofthe crime
~~~'money laundering."
          Penal Code section 186.9 defines "criminal activity" as a criminal offense punishable undex the laws of
 the state by imprisonment in the state prison or from a criminal offense committed in another jurisdiction
 punishable under the laws ofthatjurisdiction by death or imprisonment for a tezm exceeding one year. (Pen.
 Code §186.9(e).) Federal bank fraud, in turn, is punishable by imprisonment for a term of not more than 30
 yeaxs. (18 U.S.C. §1344.) Similarly, federal wire fraud is punishable by not more than 20 years, absent special
 circumstances. (18 U.S.C. §1343.) Thus, it appears that federal bank and/or wire fraud may serve as the
 criminal activity underlying a charge of California money laundering.

                      2. The .First Amended Complaint is Su,fficiently Pled.
          Defendants also argue that even if a sta#e money laundering prosecution may be predicated on a federal
  offense,the charges are uncertain and fail to adequately apprise them ofthe actions against which fihey must
  defend. Despite the amendments to the charges, Defendants continue to assert a lack of specificity as to fihe
  transactions and monetary instruments allegedly involved in the money laundering. Defendants assert that the
  People may not rely on a simplistic pleading under Penal Code section 952, but must satisfy constitutional due
  process requirements as vc~ell. The People respond that they have complied with fiheir pleading requirements and
  the case should be advanced to the preliminary hearing, where the full nature ofthe charges.will become clear.
          This Court agrees the complaint is not a model of clarity. However,the nature ofthe charges and
  theories of prosecution are ascertainable from the amended charging instrument. Specifically, ~}ae People now
~
!    ~ge that Defendants conspired to orchestrate a bank fraud by misrepresenting to credit payment processors
 wt at theY were not Processing transactions from Backpag,  e and this misrepresentation would trigger a release of
 funds from banks. The overt acts alleged clarify that Defendants created multiple classified websites, and when
  applying for (at least one) merchant account, Defendant Ferrer omitted any reference to Backpage, despite
 intending to process Backpage transactions through the account. The People allege that credit payment
 processors, along with American Express, would not have knowingly processed the payments for Backpage and
 the banks would not have released funds absent Defendants' trickery.
          These allegations provide sufficient notice for Defendants to understand the nature ofthe charges and
 prepare a defense. Essentially, either Defendants did - or did not -materially represent to credit payment
 processors in a scheme to fraudulently obfiain money from banks. If Defendants did so,this may form the basis
 for a money laundering charge. {Cf. United States v. Mason (9~' Cir. 1990)902 F.2d 1434, 14431 [federal
 money laundering conviction supported by evidence that bank would not have opened a merchant account had it
 known it was laundering credit charges far prostitution; the false representation to the credit processoz
 influenced the bank's release offunds].) The factual resolution to that question, however,is not at issue here.



 i Overruled, on other grounds in part by United States v. Doe (9~' Cir. 2013)705 F.3d 1134, which was later withdrawn, See also
 United States v. Warshak (6~' Cir. 2010)631 F.3d 266.




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 ~'hat is at issue is whether the First Amended Complaint has been sufficiently pled to meet statutory and due
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'~-r_ocess requirements.
           This Court finds the First.Amended Complaint provides Defendants notice ofthe offenses of which they
   are accused, and Defendants are adequately apprised ofthe conduct against which they must defend. (Penal
   Code §952; Lamadrid, supra, 118 Ca1.App.3d at 791.) In fact, Defendants' knowledge ofthe nature ofthe
   charges and theory of prosecution has been demonstrated throughout the briefing process and during argument
   to the Court. Therefore, the First Amended Complaint meets statutory and due process requirements and is
   sum ciently pled to go forward.

         F.      Purported Defects in the Money Launderin~Char~es
         To prove that the defendant is guilty of money laundering,the People must ultimately show the act of
  conducting financial transactions) of a minimum amount, within a certain time frame, and that when the
  defendant did so, he either intended to promote criminal activity or he knew that the money represented the
  proceeds of criminal activity or was derived directly or indirectly from the proceeds of criminal activity.
 (CALCRIM 2997)

                                 One Act, One Crime Concerns
          Defendants argue that even if charges are sufficiently pled,the money laundering charges are fatally
  flawed  because they are premised on the same acts as those allegedly constituting bank ax wire fraud.
    , ~endants argue that under the People's theory, the credit payments impermissibly constitute both the bank
~  _-aud and the money laundering.
          Notably, fhe federal bank fraud statute punishes the fraudulent scheme, not necessarily the completion of
  the scheme. The offender must acquire (oz attempt to acquire) bank property by means ofthe material
  misrepresentation. (Loughrin v. United States(2014) 134 S.Ct. 2384, 23.93-2394.) Because bank fraud may be
 completed upon attempting to effectuate the scheme,there exists a range of punishable behavior that is subject
 to factual determinations by the trier offact. That is separate and apart from the question at bar; i.e whether the
 charges are adequately pled.
          Nevertheless, the parties draw attention to a problem identified by the federal courts that may arise when
 federal money laundering is based on federal bank or wire fraud, and suggest the same problem is present here.
 When flee activity required to comrn.it the fraud encompasses activity required to commit money laundering, the
 two offenses should merge into one offense under federal law. (See e.g., United States v. Wilkes (9~' Cir. 2011)
 662 F.3d 524, 545-546 [if a successful bank fraud requires concealment offinancial transactions, the defendants
 cannot be charged with that same act of concealment a second time, as relating to -the commission of money
 laundering].) Perhaps the most common "meager" problem arises when the court must parse out(or trace) the
 money involved in the underlying crime and money involved in the laundering. As a result, there are a plethora
 offederal cases that discuss tracing the proceeds ofthe criminal activity in order to determine when the bank or
 wire fraud ends, and money laundering begins. Indeed, the parties spend much time debating this issue.
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. Included in this discussion is the appropriate federal definition of"proceeds" for tracing purposes. (Compare
   United States v. Santos(2008) 553 US 507 [plurality decision defining "proceeds" as profits rather than gross
~~:eipts] with United States v. Grasso (9~' Cir. 2013)724 F.3d 107, 1091 [recognizing subsequent legislative
!
   amendment defining "proceeds" as including gross receipts of criminal activity].)
            Despite the parties' request to weigh in on this vexing problem faced by federal courts, the difficulty in
   defining and tracing proceeds does not appear to so plague the California money laundering statute. The bench
  notes in CALCRIM 2997 governing Money Laundering instruct,"If the definition of proceeds is an issue, see
   United States v. Santos —which holds that `proceeds' in the federal money laundering statute means `profits."'
  There is no recognition ofthe legislative definition of"proceeds" enacted after Santos. This signals an
  intentional divergence from federal law and provides us with a clear definition ofthe type ofmoney to be traced.
            Additionally,People v. Mays(2007) 148 ~Ca1.App.4~' 13, the lead case involving money laundering,
  provides guidance on how to trace the money from the underlying criminal actzvity on its path to be laundered.
  The Mays court determined that our "promotional" money laundering prong under subsection (a)(1) of Penal
  Code section 186.10 requires monetary transactions to be made with a specific intent to keep the criminal
  activity alive. (Id at 29.) Under this section, there is no need to trace any funds, since there is no requirement
  that the money to be derived from an illegal source in order to promote criminal activity. (Id at 30)
           However, under the "transactional" prong of subsection (a)(2), the requisite mens rea is knowledge that a
  monetary instruuzent represents criminal proceeds. Under this subsection, tracing the sources} oftransactions is
 required. Monetary instnzments must be composed ofthe minimum statutory amount solely from criminal
  proceeds; it is insufficient merely to show the transaction was the right amount and from an account with
 comingled funds. This requires the government to show: the defendant's entire business was illegal, there were
     t7osits ofthe minunum statutory amount or more in criminally dexived funds, or there was a transfer of ail
 funds out ofthe account. (Mays, supra, 148 Cal.App.4~' at 32.)
           Here, Defendants have been charged under both prongs ofthe money laundering statute. This means
 Defendants are being chaxged with, essentially, either investing money into the underlying criminal scheme, or
 conducting transaction wifih profits from the scheme and the People must show that the profits came solely from
 that underlying criminal activity. Regardless of whether the People will succeed in meeting their burden of
 proof, the theory and the charges under which they are proceeding appear to be valid under California Iaw and
 adequately pled such that any defect does not bar prosecution.

                          2.      Bank Fraud tray be Premised on Intent to Defraud a Thzrd Party
           Defendants argue that even ifthe "criminal activity" underlying a money laundering charge maybe
  based on a federal bank charge, the instant allegations of bank fraud are facially deficient because Defendants
  had no relationship with the banks iiarned in fhe First Amended Complaint and therefore could not have been
  victims of bank fraud.
          The federal bank fraud statute states: "Whoever knowingly executes, or attempts to execute, a scheme
  or artifice (1} to defraud a financial institution; or(2) to obtain any ofthe moneys,funds, credits, assets,
  securities, or other property owned by, or under the custody or control of, a financial institution, by means of



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  r Ise or fraudulent pretenses, representations, or promises; shall be fined not more than $ 1,000,000 or
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     ~prisoned not more than 30 years, or both." (1 ~ USC §1344.)
           Subsection(1)requires intent to defraud a financial institution. To act with the "intent to defraud"
  means to act willfully, and wifih the specific intent to deceive or cheat for the purpose of either causing some
 financial Ioss to another, or bringing about some financial gain to oneself. (United States v. Brandon (lst Cir.
  1994) 17 F.3d 409,425.) Subsection(2)requires that a defendant "knowingly execute[ ], or attempt[]to
  execute, a scheme or artifice" and has two elements. First, the clause requires that the defendant intend "to
  obtain any ofthe moneys ... or other property owned by, or under the custody or control of, a fuiancial
  institution." Second, the clause requires that the envisioned resulti.e., the obtaining of bank property—occur
"by means offalse or fraudulent pretenses, representations, or promises." (Loughrin v. United States(2014) 134
 S. Ct. 2384,2388-2389.} There must be a "relational" connection between the alleged false statements ox
 representations and the obtaining of bank property, such That the misrepresentation is material. (Loughrin v.
  United States(2014) 134 S. Ct. 2384, 2393.)
          A material misrepresentation made to a third party may qualify if it induces the bank to depart with its
 property. (See United States v. Nguyen 2017 U.S.Dist. LEXIS 32549, *15-19 and Louglu~in v. United States
(2014) 134 S.Ct. 2384,2389 [both stating that bank fraud can cover deception ofa non-bank custodian with a
 goal to obtain a bank's property].) This theory of bank fraud has been pursued in other jurisdictions. For
 example, in United States v. McNeil(9~' Cir. 20Q3)320 F.3d 1034, 1039, the defendant used fake identifzcation
 to open an account for the purposes ofreceiving a false tax refund, with the ultimate goal oftransferring money
 r~nm the fake account to his own. The 9th Circuit rejected the argument that the conviction was invalid because
     'true victim was the IRS and not the bank. The court determined that the plan was two-fold; fraudulently
 obtain money from the IR.S, then (after the bank becomes aholder-in-due-course) misrepresent to the bank that
Defendant was ultimately enfiitled to the money. (See also United States v. I~Yarshak(6~' Cir. 2010)631 F.3d
266, 309-310 [jury could find that misrepresentation made to deceive payment processor to continue to process
payments when they would otherwise decline constitutes bank fraud]; United States v. Johnson (C.D. Ut. 2015)
2015 U.S.Dist. LEXIS 145102, *6 [submitting a fraudulent merchant account applications to a bank so that
onlzne sales could be processed can constitute bank fraud].)
          By extrapolation, the instant allegations of bank fraud based on the theory that Defendants made a
material misrepresentation to a credit payment processor, which induced a bank to depart with its properly, may
be proper and may serve as the predicate "crzminal activity" for a state money laundering charge.

                    3. Money Laundering Based on Wire Fraud
         Defendants are also charged with both prongs of money laundering after violating the federal wire fraud
 statute under 1 S USC section 1343. Wire fraud is committed when:"Whoever, having devised or intending to
 devise any scheme or artifice to defraud, or for obtaining money or property by means offalse or fraudulent
 pretenses, representations, or promises, transmits or causes to be transmitted by means of wire, radio, ox
 television communication in interstate or foreign commerce, any writings, signs, signals, pictures, or sounds for


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  the purpose ofexecuting such scheme or artifice, shall be fined under this title or imprisoned not more than 2d
   years, oz both...." (18 USCS § 1343.)
(~-        Wire fraud does not require proofthat the defendant's conduct violated a separate law or regulation.
  Rather, wire fraud has only three elements: "(1) a scheme to defraud;(2)use ofthe wires in furtherance ofthe
  scheme; and (3} a specifzc intent to deceive or defraud."(United States v. Green {2p10) 592 Fad 1057, 1064,
  quoting United States v.~ Shipsey(9th Cir. 2004)363 F.3d 962, 971.) The scheme to defraud must only include
  an "affirmative, material misrepresentation."(Green, supra, 592 F.3d at 1064).
           Here, Defendants are faced with two counts of money laundering based on wire fraud, listing American
  Express as the victim and describing the fraudulent behavior as "using interstate wires by using various payment
  entities to disguise the true nature ofthe transactions." Factually, the People have alleged that American
  Express signaled its intent to discontinue processing Backpage's credit payments after May 1, 2015, but
  Defendants continued to process American Express transactions from Backpage. The People also allege that
  Defendants created shell companies and engaged in factoring in order to obscure the nature and/or source ofthe
  credit payments.
          In light ofthe general money laundering discussion above, this Court finds no reason to prevent
  prosecution for money laundering based on wire fraud.

  III.     Application of The First Amendment
           In addition to the above facial attacks on the complaint, Defendants contend that the First Amendment
  bars prosecution for all charges, as the People are seeking to prosecute them for publishing functions. However,
  t. e instant charges are not based on an overt attempt to criminalize the act of publication, and traditional First
~ aendment analysis is not required here. Indeed, the money laundering charges based on bank and wire fraud,
  on their face, are not based on publication ofthird party speech at all. Rather,they are based on the purported
  illegality of Defendants financial operations. This Court finds that the immunity provision ofthe CDA is not
  triggered by the money laundering charges based on bank or wire fraud. Thus,the following discussion is
  directed at the pimping charges faced by Defendant Ferrer and the money laundering charges based on
 prostitution.
           That is not to say that the First Annendment is net implicated at all. Indeed,the protections afforded by
 the First Amendment were the motivating factors behind the enaclxnent ofthe CDA. Congress expressly
 intended to relieve online publishers from liability for publishing third-party speech. (47 U.S.C. § 230)
           As noted above, Penal Code section 1Q04 allows for a demwrrer on the basis that the complaint contains
 matter which, iftrue would legally bar the prosecution. (Penal Cade §1004.) The language ofthe CDA itself
 states,"No cause of action may be brought and no liability will may be imposed under any State or local law
 That is inconsistent with Phis section." (47 U.S.C. §230(e)(3)(emphasis added).) This statutory language
clearly demonstrates a legislative intent to provide both a bar to prosecution and an afffir~native defense at trial.
Thus, the relevant question in this case is whether, and to what extent, Defendants' activity entitles them to
protection oftheir First Amendment rights through the immunity provision offile CDA.

         A.     Immunity Under the Communications Decency Act




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         The CDA provides immunity for online publishers and distributors of content generated by third parties.
    arYett v. Rosenthal(2006)40 Ca1.4fih 33, 39.} Protection from the CDA is broken down into three parts.
 Conduct is shielded if the defendant(1)is a provider or user of an interactive computer service;(2)that the
 plaintiff seeks to treat as a publisher or speaker;(3) ofinformation provided by another information content
 provider. (Fields v. Twitter, Inc.(N.D. Ca1.2016)217 F.Supp.3d 1116, *1121; Doe v. Backpage.com LLC
(2016)81'7 F.3d 12, 19; 47 U.S.C. §230.) "There has been near-universal agreement that section 230 should not
 be construed grudgingly." (Doe, supra, 817 F.3d at 118 [citations omitted].)
         To determine whether defendant faces a claim that seeks to treat the defendant as a publisher or speaker
 ofinformation provided by a thud party,"courts must ask whether the duty that the plaintiff alleges the
 defendant violated dexives from the defendant's status or conduct as a publisher or speaker." (Barnes v. Yahoo!,
Inc. 570 F.3d 1096, 1101-02.} Moreover, because distributors are included in the publisher ca#egory,
distributors are also entitled to protection under the CDA. After a11, publication includes evezy repetition and
 distribution of material. (Baf-rett v. Rosenthal(2006)40 Cal.4th 33, 45.) Under the CDA,"any activity fihat
can be boiled down to deciding whether to exclude material that third parties seek to post online is perforce
immune." (Fair Housing Council ofSan Fernando Valley v. Rommates.com, LLC,(9th Cir. 2008)521 Fad
 1157, 11'70-Z 171.) The Ninth Circuit has recognized that although "there will always be close cases where a
clever lawyer could argue that something the website operator did encouraged the illegality...Such close cases
must be resolved in favor ofimmunity..."(Id at 1174.)
        As applied to the instant case, there are two possible theories of prosecuting Defendants for pimping. A
' ~~endant can be convicted of pimping under a theory that involves actual solicitation of prostitution.
   Eernatively, defendants may be prosecuted under the theory that defendants derived support from the earnings
of another's act of prostitution.(See People v. McNulty(1988)202 Ca1.App.3d 624,630 [stating the two
theories of prosecution for pimping].) The People rely on the second theory in asserting that Defendant Ferrer
knowingly lived and derived support from prostii~ution earnings.

        1.       Theory that Defendant's derivedfinancial supportfpom prostitution
        The People maintain that pimping will be shown when the People demonstrate that Defendants acquired
income from prostitution resulting from advertisements placed in Backpage.com. Defendants maintain they
merely accepted payment for a legitimate publishing function.
        This Court finds People v. Grant(2011) 195 Cal..App.4th 107 helpful. Grant discusses a distinction
befween financial support received by the prostitute (illegal} and funds paid by the prostitute for services
rendered or other purposes (legal). The appellate court emphasized that "the statutory prohibition does not
preclude a person from accepting a known prostitute's funds gained from the prostitute's lawlu3 activities or for
purposes other than the person's support and maintenance." (Id at 116. See also Allen v. Stratton (C.D.Cai.
2Q06)428 F.Supp.2d 1064, 1 Q'72, fn 7[a natural reading ofthe pimprng statute does not apply to an individual
who provides a legitimate professional service to a prostitute even if paid with proceeds earned from
prostitution, the service provider derives support from his own services]; People v. Reitzke (1913)21




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   Cal.App.740, 742[a legitimate defense to pimping is t~iat a prostitute supplied defendant money for any purpose
~ther than being supported or maintained by the prostitution].)
'
(~~        Here,there is no dispute that Sackpage charged money for the placement of advertisements. Providing a
  forum for online publishing is a recognized legal purpose that is generally provided immunity under the CDA.
   This immunity has been extended by the courts to apply to functions traditionally associated with publishing
   decisions, such as accepting payment for services and editing. (See e.g.,Doe v. Backpage.com, LLC(817 F.3d
   12, 15,petitzonfor ceYtioraYi denied January 9, 2017[decisions regarding posting standards and requirements,
  including accepting payments for posting, are not distinguishable from publisher functions].)
          However, the People dispute the "services" at issue. The People argue that the Backpage website
  generated income through its "Escort" section, which invariably contained prostitution advertisements. Because
  these advertisements are not for legal services and Defendants were well aware ofthe nature ofthe
  advertisements, the People argue that any claim ofimmunity under the CDA is defeated. (Pre-trial proceedings,
  July 14, 2017) The People would have this Court determine that the services provided are based on the content
  ofthe advertisement rather than the forum on which the advertisement is posted. Yet,to hold Defendant
  responsible for the content ofthe advertisement would require holding a publisher liable as if he was the speaker
  ofthe content. Contrary to the People's claim, doing so directly triggers, not defeats, the immunity provision of
  the CDA.
          However,that does not end our inquiry. Immunity may be xemoved if Defendants' conduct went beyond
  those of a publisher and constituted content creation. This may happen when a provider crosses the line from
  providing a neutral interactive service that simply replicates offending third party matter and instead takes active
 control ofthe content ofa web postzng. (Doe v. Backpage.com LLC{D.C. Mass 2015) 104 F. Sup.3d 149, 156.)
     short, if a provider's acts "materially contribute" to the illegality ofthe material, immunity will be lost. (See
 Fair Hous. Council v. Rommates.com, LLC(9th Cir. 2008)521 F.3d 1157, 1166 [defendant became a content
  provider by requiring an answer to discriminatory questions, defendant's unlawful questions sought unlawful
  answers as a condition to doing business]; Jones v. Dirty World Entmt Recordings LLC(6th Cir. 2014)755 F.3d
 398-408-409 [a service provider must require third-parties to enter unlawful or actionable content to be deemed
  a content provider]; FTC v. LeadClick Media {2nd Cir. 2016)838 F.3d 158, 175 [encouraging and managing
  another site to post fake news in order to boost web traffic and sales for client results in content creation]; and
(FTC v. Accusearch Ine. (l Oth Cir. 2009)370 F.3d 1187[no immunity for company that created offensive
 content by paying researchers to illegally obtain phone numbers,then resold the numbers online].}
          The People claim that Defendant Ferrer has gone a step beyond merely accepting payments for
 advertisements placed online. Allegedly, Defendant Ferrer created content, connected pimps and trackers
 wifih purchasers, and helped them avoid law enforcement. The People allege that, through Backpage's posfiing
 guidelines, Defendant Ferrer encouraged, maintained and assisted illegal prostitution for purposes of his own
 financial gain.

                a.      Edi#ing
        The People allege Defendants created a moderation system where terms would be deleted or blocked by
  Backpage but the user would still be allowed to post the advertisement and compensate Defendants. The People




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,/~'~ege that "such edits would nat change the users' intent....but merely create a disguise." (Amend. Comp.26}
'~. _pie People allege that these actions resulted in blocking certain prostitution terminology, but coded or obscured
   Iangu.age and pictures were allowed to be posted. The People allege that Defendant Ferrer directed staffto
   delete or block words that were code for underage girls, but allowed the advertisement to be posted for a fee.
 (Amend. Comp. 26) The People contend that this constitutes "material contribution" to the offensive material.
 (Pre-trial proceedings, July 14, 2017, p 26)
             In light ofthe People's acknowledgement that Backpage's edits would not change the user's intent, there
   can be no material contribution to the offensive content. Indeed, such actions generally fall within the scope of
   protected editorial functions. {See Doe v. Backpage.com LLC(lst Cir. 2016) 817 F.3d 12,20-21 [service
   providers' decisions on website structure, rules for posting and reposting -even when previously blocked -are
   protected publisher functions] and .Fields v. Twitter, Inc.(N.D. CaI. 2016} 217 F.Supp.3d 1116, 1122 [protected
   publishing activity included decisions about what third party content may be posted or reposted online].)
            Even ifthe edits ox posting rules allow advertisers to use coded language, this is insuffcient to render
  the website operator a content provider. The crucial distinction is between engaging in actions (traditional to
  publishers) that are necessary to the display of unwelcome and actionable content, and responsibility for what
  makes the displayed content illegal or actionable. (Jones v. Dirty World Entmt Recordings LAC(6th Cir. 2014)
  755 F.3d 398,414 [].) Here, zt is the third-party who is responsible far the illegal content ofthe advertisement.
            The People also allege that Defendants knew that the ads placed were for prostitution and Defendants
  pwrposefully crafted their posting procedures to maximize their profits from this prostitution. Yet courts have
     `ra.irzed from presuming to know a publisher's motivations for editorial decisions. First, "it is well established
~   ~at notice ofthe unlawful nature ofthe information provided is not enough to make it the service provider's
  own speech." (universal Corjzmun. Sys. v. Lycos, Inc. (1st Cir. 2007)478 F.3d 413, 420, citing Barrett v.
 .Rosenthal(2006)40 Cal. 4th 33). Thus, even if Backpage knew ofthe unlawfulness ofthe content ofthe ads,
  knowledge is insufficient to render Defendants liable. This is true regardless of whether Backpage even
  exercised its editorial discretion and deleted or blocked certain terms from ads. (See Doe II v. MySpace Inc,
(2009) 175 Cal.App.4th 561, 571 [immunity under section 230 applies even when self-regulation is
  unsuccessful or unattempted]; Doe v..Backpage.com, LLC(lst Dist. 2016) 817 F.3d 12,21 [rejecting claim that
  website operators should be liable for failing to provide sufficient protections to users from harmful content
 created by others].)
            Additionally, in Backpage.com v. McKenna(Wash. VV.D.C. 2012)881 F.Supp.2d 1262,the court
 recognized the difficulty in assigning knowledge of athird-party's intent to a publisher when that third party
 places an ad with Backpage. The court acknowledged that the pimp who publishes the advertisement certainly
 knows whether his offer is implicitly for sex, but expressed serious doubt that one could assign such knowledge
 to a publisher as to whether an advertisement "implicitly" offered sex. If an online service provider publishes
 advertisements that employ coded language, a reasonable person could be misled to believe that facts exist when
 they do not: an advertisement for escort sezvices may be just that. Moreover, ifthe offer is "implicit," a third




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 party cannot ascertain that which is being offered before the transaction is actually consuirunated — a fact not
 likely to be known by a publisher. (Id at 1279.}
~`        Finally, courts have stated that the motivation behind editorial decisions "do not alter the fact that the
 complaint premises liability on the decisions that Backpage is making as a publisher with respect to third-party
 content." (Doe v. Backpage.com, LLC(1st Dist. 2016} 817 F.3d 12, 21.) Irrununity depends on the source of
 the information in Elie injurious statement, not the source ofthe statement itself. (I~niversal Conzmun. Sys. v.
 Lycos, Inc., (1st. Cir. 2007)478 F.3d 413, 419-420 [immunity only applies when the infozmatian that forms the
 basis for the state law claim has been provided by "another information content provider"); 47 U.S.C. §230
 t~)~l)•)
         Here, the People acknowledge ~t1~,at advertisements are placed by third parties and Backpage's edits
"would not change the users' intent." Nor is there an allegation that Defendants) set up the website to require
 offensive content to be supplied, as in Roorrcmates, Bollaert or Dirty WoYld. As such, there is no material
 contribution to the offensive content in the advertisements, and the allegations reference traditional publisher
functions.

                 b.       Use ofProfile Information
         The People also specifically allege that "Defendants created profiles for the victims named in [several]
 counts[]without their knowledge." (Amend. Comp. 20, avert act 18) These false ar nonexistent profiles were
"created from Backpage data and [then] used on other websites." Allegedly, sometimes content that was edited
 out on Backpage was displayed on the affiliated websites of BigCity.com or EvilEmpire.com. In doing so,
 Defendants unlawfully used another's image "for the Defendants' own commercial gain," and to advertise their
~n product. (Amend. Comp. 25) The People claim that this "misappropriation" ofthe likeness of Backpage
 users resulted in content creation. (Amend. Comp.25)
         Similar allegations were considered in Dae v. Backpage.com LLC(lst Cir. 2016} 817 F.3d 12 and
Anthony v. Yahoo!Inc(N.D. Cal. 2006)421 F.Supp.2d 7257. The People cite.~4nthony as instructive. (Opp.
 12) In ~Inthony, Plaintiffs belonged to an online dating service through Yahoo!. Plaintiffs alleged that,Yahooi
created false profiles and seat those false profiles to users as enticement to renew their dating subscription. T'he
court refused Yahoo!'s claim ofimmunity under the CDA at the dismissal stage. The court stated that the
allegations that Yahoo! actively created false profiles, not merely that Yahoo! failed to delete the expired
profiles, were sufficient to allow the case to go forward.
        In Doe v. Backpage.com LLC(1st Cir. 2016)817 F.3d 12 ,plaintiffs brought claims against Backpage
alleging unauthorized use of a person's picture. Plaintiffs alleged that Backpage used their photos to garner
advertising revenues from their lxaffickers. (Id at 27.) The court found that although Backpage profited from
the sale of advertisements, it was "not the entity that benefitted from the misappropriation." Rather,the party
who benefitted from the misappropriation was the original advertiser. The court stated,"Matters might be
different if Backpage had used the pictures to advertise its owe services..." (Ibid.} (See also Perkins v.
Linkedln Corp(N.D. Cal. 2014} 53 F.Supp.3d 1222, 1247 [defendant was a content provider when defendant, in
an effort to increase its own business, unilaterally crafted and sent membership invitation einails to users'
contacts].)




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             The People assert that Defendant Ferrer falls under the above exceptions when he created and then used
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' `:j.afile information to increase Backpage revenue. Ye# the People acknowledge that the information used was
   "created from Backpage data." Thus,it is clear that Defendants did not fabricate the data, as in Anthony. There
    is no allegation that in taking the data from the Backpage ads, Defendants created the injurious nature ofthe
    matezial. (See Doe v. Friendfinder Networl~ Inc.(D,C. N.H. 2008)540 F.Supp.2d 288, 295 [website operator is
    not a content provider when there is no indication it contributed to the injurious character ofthe content].)
    Moreover, the People's allegation that the purpose ofthese "new" posts was to direct web traffic back to
    Backpage demonstrates that if a person was interested in the reposted profile, the person was redirected to the ad
    on Backpage. While additional advertisement revenue may have been a byproduct ofthis redirection, the
    original poster gained increased visibility of his ad. Increased visibility to the classified ads posted by third
    parties permissibly Leads to search engine optimization in an effort to increase the visibility ofthe information
    provided by the third party. (See Asia Econ. Inst. V. Xcentric Ventures LLC(C.D. Ca1. 2011) 2011 U.S. Dist.
    LEXIS 145380, *19 [increasing the prominence of a page in Internet searches do not amount to "creation or
    development ofinformation"].) Indeed, the very purpose ofthe online advertising accessed by the third party in
    placing an ad in Backpage was to provide accessibility to the public on a large scale. (See Ibid [the purpose of
    consumer reports is to provide accessibility to the public on a grand scale and "increasing the visibility of a
    statement is not tantamount to altering its message"]; See also M.tl. ex rel. P.D. v. Village Voice Media
    Holdings, ~,LC(E.D. Mo. 201 I)809 F.Supp.2d 1041 ["Whatever [Backpage] did to increase their profitability
    ad visibility, did not create the content ofthe offensive posted information."].)

~~                 c.       Overall Course of Conduct
           The People attempt to establish a pattern of an overall course of conduct to indicate Defendants sought
   to structure their business to obtain maximum profits from the illegal sex trade. The People allege that
   Defendants "manipulated" advertisements to evade law enforcement detection. The People state,"In this way,
   rather than prevent a child from being sold far sex, the Defendants would knowingly profit from the child's
   commercial sexual exploitation and assist the tricker to evade law enforcement." (Amend. Comp. 26)
           The People maintain Backpage's conduct is similar to J.S v. Vill. Voice Media Holdings, LLC(2015)
   184 'VJn.2d 95. In that case, advertisements featuring three minor girls were posted online on a site owned by
   Backpage. These girls became victims ofsex tricking and later brought suit against Backpage. Backpage
   moved to dismiss the case on fine basis ofimmunity provided by the CDA. The Washington Supreme Court
   refused to grant the motion to dismiss. {Id at 98-99.) The J.S. court stated that the case tinned on whether
   Backpage merely hosted the advertisements or helped develop the content ofthose advertisements. (.Fd at 101)
           Applying the applicable state standard for a motion to dismiss, the .I.S. court found that the plaintiffs
   alleged facts that, if proved true, would show that Backpage did more than simply maintain neutral policies
   prohibiting or limiting certain content. Specifically, those allegations included that Backpage intentionally
   developed its website to "require" information that allows and encourages illegal tricking of underage girls,
   developed content requirements that it knows will allow solicitors to evade law enforcement and that Backpage


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   knows that the foregoing content requirements are a fraud and ruse actually aimed at helping pimps and
   prostitutes. (Id at 102.)
~~         Here, however, the factual allegations fall short ofthose alleged in J.S`.. There is no allegation that
  Defendants required information essential to the illegal trafficking of underage girls. Instead, the People's
  allegations attempt to assign criminal liability to Defendants who offered an online forum, on which other
  people posted advertisements that Ied to prostitution, and that Defendants realized profits instead of"actively
  preventing" the sale of sex. These allegations confuse moral obligations with legal ones and have been rejected
  in other jurisdictions. For example,in M.A. ex rel. P.D. v. Village T>'oice Media .Holdings, LLC(B.D. Mo. 20i 1)
  809 F.Supp.2d 1041, Defendants were SUSTAINED immunity under the CDA for allegations that Backpage
  knowingly accepted a fee for advertisements leading to prostitution, and "created information" by hosting a
  search engine, providing instructions for increased visibility of advertisements and allowed for anonymous
  payment. (~'d at 1044.) (See also Doe v. Backpage.com LLC{2016)817 F.3d 12, 22 [rejecting the plaintiffs'
  assertion that Backpage participated in an affirmative course of conduct and actual participation in sex
  trafficking by charging for advertisements and allowing users to pay an additional fee for increased
  advertisement visibility and holding that "claims that a website facilitates illegal conduct #.hrough its posting
  rules necessarily treat the website as a publisher or speaker of content provided by third parties and,thus, are
  precluded by section 230(c}(1)."].)
          As alleged here, the prostitution took place as a result of an advertisement placed by a third party. Thus,
 the only "manipulation" would be zn the act of extracting the content from the original ad andlor from the act of
  physically posting the extracted content on a new site. Backpage's decision to charge money to allow a third
 natty to post content, as well as any decisions regarding posting rules, search engines and information on how a
(~ ;;r can increase ad visibility, are all traditional publishing decisions and are generally immunized under the '
 CDA.In short, the victimization resulted from the third party's placement ofthe ad, not because Backpage
 profited from the ad placement. (See Doe, supra,817 F.3d at 2Q [noting that the plaintiffs were harmed when
 they were trafficked through the advertisements whose content was created by a third party]; Cohen v.
 Facebao7~ Inc.(E.D.N.Y. May 18,2017)2017 U.S.Dist.LEXIS 76701, at *28-31 [Facebook immune from
 liability for allowing Hamas to use its platform to post offensive content that incited or encouraged terrorist
 attacks in Israel because although Facebook's role in publishing that content was an essential causal element of
 the claims, allowing liability to be imposed on that basis would inherently require the court to treat the
 defendant as the publisher or speaker of content provided by Hamas, and was impermissible under the CDA].)

          B.      Money Laundering Based on Prostitution
          The People charge Defendants with both prongs of money laundering based on a specific intent to
 promote prostitution in violation of 18 USC 1952, pimping in violation ofPenal Code section 266h, or knowing
 the monetary instruments represented the proceeds ofthe prostitution. (See counts IS-16)
          Referred to as the "Travel Act," section 1952 prohibits travel in interstate commerce or use ofinterstate
 facilities with intent to promote unlawful activity. (united States v Villano (10th Cir. 1976)529 F2d 1046.)
 The Travel Act defines an "unlawful activity" as any crime of prostitution under state law. (See United States v.




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 ~f"'~mpione (7th Cir. 1991} 942 F.2d 429, 434.). Section 1952 refers to state law only to identify the defendant's
't` ~~awful activiiy; it does not require that the state crime ever be completed or proved.(Ibid.)
            Although the parties do not discuss these specific charges at length, the previous discussion ofthe
    CDA's immunity provision as it relates to the pimping charges informs the Court's analysis with respect to
    these charges. As discussed above,the People are attempting to prosecute Defendants as ifthey were the
    speaker ofthe offensive contEnt leading to prostitution, which is prohibited under the immunity provision ofthe
    CDA. This Court rejected fihe People's claim that Defendants actually created the content that led to their
   ability to live and derive support and maintenance from prostitution proceeds, when the face ofthe complaint
   demonstrated that Defendants engaged in protected publisher functions. Because this Court has rejected the
   prosecution based on the theory that T7efendants engaged in pimping, their purported use of proceeds from
   prostitution cannot now serve as the basis for money laundering charges. As i-l~is Court has already determined,
   Defendants provide an online forum for third-party speech, and their decision to charge money for such postings
   constitutes activity protected under the CDA.

                                                      Conclusion
          As amply briefed by the parties, federal iaw provides broad immunity for Internet service providers from
  both federal and state prosecutions. Indeed, the 9~' Circuit fedexal appellate court has instructed such isnmuniiy
  be applied liberally. The underlying public policy is to permit, and promote,the robust growth ofthe Internet by
  shielding Internet providers from facing suit over the content created by those posting on their sites. If and until
  Congress sees fit to amend the immunity law,the broad reach of section 230 ofthe Communications Decency
      even applies to those alleged to support the exploitation of others by human trafficking.
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          HovcTever, immunity afforded to iraternet service providers is not without limit. Even the most ardent
  defenders of a vigorous world wide web would have to concede that if a provider engaged in their own criminal
  acts, versus those of their customers,immunity must fail. And so it is in this case. While the charges relating to
  pimping will not be allowed to proceed, the offenses pertaining to allegations that the Defendants themselves
  engaged in financial crimes, to include bank fraud and money laundering to disguise their business dealings,
  will survive the demurrer stage.


  Court's ruling:
        Defendants' request to enjoin further prosecutorial investigation and return ofthe materials seized is
        OVER.R.ULED.
        Defendants' request for judicial notice is OVERRULED,except as to the prior charges and orders
        grantzng the demurrer and dismissal. Within that contest, the People's motion to strike the remaining
        exhibits is SUSTAINED.
        Defendants' request to assign the case to the Honorable Michael G. Bowman is OVERRULED.
        Defendants' demurrer is SUSTAINED for counts 15-16, 28-40, OVERRULED as to the remainder of"
        the charges.
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     Dated:

                                           Honorable Lawrence G.Brown
                                           Judge of the Superior Court of California
                                           County of Sacramento




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